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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MARYLAND

Michael E. Kennedy,                                 *
                                    Plaintiff,      *
                                                    *
        v.                                          *       Civil Action No.      C~O
                                                    *
Ace Cash Express, 1231 Greenway Drive,              *                     FILED          ENTERED
Suite 600, Irving, Texas 75038                      *             ---LODGED              RECEIVED
                                                    *             ---
                                    Defendant.      *
                                                                         JUL 1 4 2010
                                                                             AT BALTIMORE
                                                 COMPLAINT             CLERK u.s. DISTRICT COURT
                                                                         DISTRICT OF MARYLAND DEPUTY
                                                                  BY
I.     Jurisdiction in this case is based on:
        [X]       Federal question (suit is based upon a federal statute or provision of the United
                  States Constitution).

        [ X]      Diversity (none of the defendants are residents of the state where plaintiff is a
                  resident).

        [ X ] Other (explain) Fair Debt Collection Practices Act ("FDCPA") of1977.




       A.         Jurisdiction.

       This action is brought pursuant to the Fair Debt Collection Practices Act (HFDCPA ") of
1977, 15     Us.c. ~1692 et seq.,    and State of Maryland Fair Debt Collection Practices Act, Md.
Code Ann., Business Regulation ~ 7-101, et seq. and Md. Comm. Law Code Ann. ~14-201 et seq.
The Court has jurisdiction over this action pursuant to 28 Us. C.       g 1331.   The Plaintiff further
invokes the pendent jurisdiction of this Court.

       B.         Parties.

                  (1)     The Plaintiff in this action is Michael Edward Kennedy, who presently
resides at 33250 Old Ocean City Road, Parsonsburg, Maryland 21849.
                  (2)     The Defendant in this action is Ace Cash Express, which is a national
corporate entity legally registered and operating within the confmes of the State of Maryland,

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            maintaining a business address at 901 North Salisbury Boulevard, Salisbury, Maryland 21801.
            Ace Cash Express does business specializing in gold buying; auto insurance; prepaid debit cards;
            payday loans; and title loans. It is sued in its corporate entity.

                    C.      The Complaint In This Matter Is Timely Filed.

                    The statute of limitations for filing a Fair Debt Collection Practices Act ("FDCPA '')
            action in accordance with the state laws of Maryland for a comparable civil action is two-years,
            with the time commencing from the date the facts supporting the claim become known and with
            the exercise of reasonable diligence. The material documents and factual evidence supporting
            the instant action became known to Mr. Kennedy in July of 2010. The Complaint in this matter
            is therefore timely filed.

                    D.      Trial Demand.

                    The Plaintiff in the above-captioned complaint, Michael E. Kennedy, demands a trial by
            jury in this matter.

            II.                             Statement of the Case

                    The Plaintiff in this matter brings suit under the Fair Debt Collection Practices Act of
            1977 ("FDCPA '') (15 Us.c. ~1692et seq.) and State of Maryland Fair Debt Collection
            Practices Act collection laws (Md Code Ann., Business Regulation ~ 7-101, et seq. and Md
            Comm. Law Code Ann. ~14-201 et seq.) prohibiting debt collectors from engaging in abusive,
            deceptive or unfair collection practices.

            III.                                    Background
                    The Plaintiff, Michael E. Kennedy, brings suit under both the federal and Maryland debt
            collection laws prohibiting debt collectors from engaging in abusive, deceptive, or unfair
            collection practices. Mr. Kennedy asserts that Defendant Ace Cash Express, acting through its
            agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,
            sureties, subrogees, representatives, and insurers knowingly and willingly engaged in an
            unlawful telephone campaign in an effort to collect payment on a disputed debt owed Ace Cash
            Express by an individual other than Plaintiff and who has been identified by Ace Cash Express

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    employees as "Marilyn Wilson." The Plaintiff does not know Marilyn Wilson; has no relation to
    Marilyn Wilson; and is not legally responsible for any debts incurred by Marilyn Wilson. Ace
    Cash Express, acting through its agents, employees, officers, members, directors, heirs,
    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers further
    threatened Plaintiff with repossession of his own personal vehicle -a vehicle which he has clear
    title to. Lastly, even after being sent a cease and desist letter by Plaintiff, Ace Cash Express,
    acting through its agents, employees, officers, members, directors, heirs, successors, assigns,
    principals, trustees, sureties, subrogees, representatives, and insurers continued in their unlawful
    telephone campaign in an effort to collect payment on a disputed debt owed Ace Cash Express
    by an individual other than Plaintiff. The individual and collective acts of Ace Cash Express,
    acting through its agents, employees, officers, members, directors, heirs, successors, assigns,
    principals, trustees, sureties, subrogees, representatives, and insurers further served to invade the
    Plaintiff s right to privacy and cause Plaintiff emotional distress and mental anguish.

    IV.                                           Introduction
    1.)        Count I of the Plaintiffs     Complaint is based on the State of Maryland's Fair Debt
    Collection Practices Act], Md Code Ann., Business Regulation 97-101, et seq. and Md Comm.
    Law Code Ann. 914-201 et seq.
    2.)        Count II of the Plaintiffs    Complaint is based on the Fair Debt Collection Practices Act
    of 1977 ("FDCPA'')        (15   Us.c. 91692    et seq.)
    3.)        Count III of the Plaintiffs    Complaint is based on the Plaintiffs common law right to
    privacy.
    4.)        Count N of the Plaintiffs      Complaint is based on the State of Maryland's Fair Debt
    Collection Practices Act, Md Code Ann., Business Regulation 97-101, et seq. and Md Comm.
    Law Code Ann. 914-201 et seq.
    5.)        Defendant acted through its agents, employees, officers, members, directors, heirs,
    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers at all
    times relative to this complaint.
    6.)        Defendant is seeking to collect a consumer debt from Plaintiff as defined by Md Code
    Ann., Business Regulation        9 7-101(e)
              The Maryland FDCPA short title is the Maryland Consumer Debt Collection Act ("MCDCA   '?, hereinafter
    referred to as the Maryland "FDCPA."

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7.)     The account in question is a consumer credit transaction as defined by Md. Code Ann.,
Business Regulation 97-101 (e)(2) as Plaintiffhas allegedly received property, services or money
from the Defendant on an extension of credit and such property, services or money was used
primarily for personal, family or household purposes.
8.)     Jurisdiction arises under 28 US C. S1331.
9.)    Defendant conducts business and is located in the state of Maryland, Wicomico County,
and therefore, personal jurisdiction is established.
10.)   Declaratory relief is available pursuant to 15 US.c. 91692 et seq.,
11.)    Plaintiff is a natural person residing in Parsonsburg, Wicomico County, Mary land.
12.)   Plaintiff is a consumer and, according to Defendant, Plaintiff allegedly owes a debt as
that term is defined by Md Code Ann., Business Regulation 97-101, et seq. and Md Comm. Law
Code Ann. 914-201 et seq.
13.)   Plaintiff is a consumer as thatterm is defined by 15 USc. 1692(a) (3), and according to
Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 USc. 1692(a) (5).
14.)   Defendant is a debt collector as that term is defined by Md Comm. Law Code Ann. 914-
201 (b).
15.)       Defendant is a debt collector as that term is defmed by 15 USc. 1692(a) (6) and sought
to collect a consumer debt from Plaintiff.
16.)       Defendant is a national company with a business office located in Salisbury, Wicomico
County, Maryland.

v.                                      Factual Allegations
17.)   On or about August 1st, 2009 Plaintiff switched his wireless service provider from Sprint
to Verizon.
18.)   On or about August 1st, 2009 Verizon provided 443-523-0180 as Plaintiff s new wireless
cell phone number.
19.)       Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers
constantly and continuously placed collection calls to Plaintiff seeking and demanding payment
for an alleged debt.




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20.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
contacted Plaintiff from telephone numbers (972) 550-5000 and (410) 742-9222, on Plaintiff's
cell phone, seeking and demanding payment for an alleged debt.
21.)    On information and belief, the telephone number (972) 550-5000 is listed as belonging to
the Irving, Texas office of Ace Cash Express in the telephone directory.
22.)   On information and belief, the telephone number (410) 742-9222 is listed as belonging
to the Salisbury, Maryland office of Ace Cash Express in the telephone directory.
23.)    Plaintiff does not owe the debt that Defendant was seeking to collect by continuously
contacting him.
24.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers, called
Plaintiff and asked for "Marilyn Wilson".
25.)    Plaintiff informed Defendant's agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers on six
(6) separate occasions that he did not know "Marilyn Wilson."
26.)       Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
continued to place telephone calls to Plaintiff despite being told that he did not know "Marilyn
Wilson".
27.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers, talked
to Plaintiff in an abusive and harassing manner. Defendant, acting through its agents, employees,
officers, members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers, yelled and used abusive language when speaking to Plaintiff.
28.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers
threatened to file a lawsuit against Plaintiff if Plaintiff did not put "Marilyn Wilson" on the
telephone.
29.)       Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,


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    threatened to reposes Plaintiff's vehicle if Plaintiff did not put "Marilyn Wilson" on the
    telephone.
    30.)    Plaintiffs 2001 Chevrolet Blazer was financed by the Wilmington Trust Company.
    31.)    Plaintiff's 2001 Chevrolet Blazer Wilmington Trust Company auto loan was paid in full
    and Plaintiff had clear title to the vehicle prior to August 1st, 2009.
    32.)    On June 4th, 2010 Plaintiff mailed a cease and desist letter, via certified mail, properly
    addressed to Ace Cash Express, 1231 Greenway Drive, Suite 600, Irving, Texas 75038.
    33.)    Plaintiff, in his cease and desist letter as identified above in item #32 of this complaint,
    notified Defendant Ace Cash Express that: (a) he had received the 443-523-0180 telephone
    number in August of 2009; (b) did not know "Marilyn Wilson" nor was he legally responsible
    for any debts owed by her to Ace Cash Express; (c) had clear title to his 2001 Chevrolet Blazer
    and did not personally owe any monies to Ace Cash Express; (d) demanded that Ace Cash
    Express provide a copy of the contract proving that Plaintiff owed Ace Cash Express a debt and
    that the alleged debt was unpaid; and (e) formally requested that, if such debt could not be
    proved as being owed Ace Cash Express by Plaintiff, that Ace Cash Express and its
    representatives then cease and desist from calling Plaintiff relative to any debts owed Ace Cash
    Express by "Marilyn Wilson."
    34.)   Defendant did not respond to the Plaintiff's cease and desist letter as identified above in
    items #32 and #33 of this complaint.
    35.)   Defendant has not, as of the filing of this complaint, provided Plaintiffwith     a copy of any
    contract proving that Plaintiff owed Defendant a debt and that the alleged debt was unpaid.
    36.)   On information and belief, within five (5) days after first contacting Plaintiff, Ace Cash
    Express and its representatives were required to provide Plaintiff with written notice of the
    amount of money Plaintiff allegedly owed; the name of the creditor to whom it was owed; and
    what action needed to be taken by Plaintiff if he did not owe the money.
    37.)   Plaintiff has not been provided by Ace Cash Express, or its representatives, with written
    notice of the amount of money Plaintiff allegedly owed; the name of the creditor to whom it was
    owed; and what action needed to be taken by Plaintiffif.he     did not owe the money.
    38.)    On information and belief, Defendant and its representatives were required by law to end
    all telephone calls and collection efforts against Plaintiff after receiving Plaintiff's June 4th, 2010
    formal cease and desist letter.


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39.)    Plaintiff does not owe Defendant, or any other subsidiary companies of the Defendant,
any monies.
40.)    Defendant, after receiving Plaintiffs cease and desist letter identified above in items #32
and #33 of this complaint, has acted through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
to continue to place telephone calls to Plaintiff seeking and demanding payment for an alleged
debt owed by "Marilyn Wilson."
41.)    Since June 4th, 2010 the Defendant, acting through its agents, employees, officers,
members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers, has continued to place telephone calls to Plaintiff and threaten to
reposes Plaintiff s personal vehicle.
42.)    Since June 4th, 2010 the Defendant, acting through its agents, employees, officers,
members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers, has continued to place telephone calls to Plaintiff and threaten to
file a lawsuit against Plaintiff.
43.)    Since June 4th, 2010 the Defendant, acting through its agents, employees, officers,
members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers, has continued to place telephone calls to Plaintiff and threaten to
garnish Plaintiffs pay.
44.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendant, acting through its
agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,
sureties, subrogees, representatives, and insurers had no legal right to continue to contact
Plaintiff and collect a debt Plaintiff did not owe them.
45.)    Since Plaintiff's June 4th, 2010 cease and desist letter the Defendant, acting through its
agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,
sureties, subrogees, representatives, and insurers have engaged in actual malice, motivated by ill
will and the intent to injure, as exhibited and demonstrated by their conduct in continuing to
place telephone calls to Plaintiff and threaten to file a lawsuit against Plaintiff.
46.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendant, acting through its
agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,
sureties, subrogees, representatives, and insurers have engaged in actual malice, motivated by ill


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will and the intent to injure, as exhibited and demonstrated by their conduct in continuing to
place telephone calls to Plaintiff and threaten to garnish Plaintiffs pay.
47.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendant, acting through its
agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,
sureties, subrogees, representatives, and insurers have engaged in actual malice, motivated by ill
will and the intent to injure, as exhibited and demonstrated by their conduct in continuing to
place telephone calls to Plaintiff and threaten to repossess his personal vehicle.
48.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendant, acting through its
agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,
sureties, subrogees, representatives, and insurers have engaged in actual malice, motivated by ill
will and the intent to injure, as exhibited and demonstrated by their conduct in continuing to
invade the Plaintiffs right to privacy.
49.)   Since Plaintiffs June 4th, 2010 cease and desist letter the Defendant, acting through its
agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,
sureties, subrogees, representatives, and insurers have engaged in actual malice, motivated by ill
will and the intent to injure, as exhibited and demonstrated by their conduct in continuing to
make annoying and harassing telephone calls to Plaintiff and by the use of threats, obscene,
profane or grossly abusive language.
50.)   The Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers, use of
threats and threats of repossession, abusive and obscene or profane language, and harassing and
annoying calls in the attempted collection of an alleged debt owed by Plaintiff, invaded the
Plaintiffs right to privacy and proximately caused the Plaintiff to suffer emotional distress and
mental anguish.
51.)    The Defendant, acting through its agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers, did
proximately cause Plaintiff to suffer the physical and mental reactions of apprehension; anxiety;
depression; appetite disorders and weight; sleeping problems; fatigue; restlessness; and mood
changes coupled with a loss of drive and enthusiasm to pursue everyday activities and personal
responsibilities and was induced by fear of loss of property, loss of income, and the subjection to
adverse actions that pertained or related to his personal credit history.


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VI.                                        Count I

        A.         DEFENDANT         VIOLATED    THE STATE OF MARYLAND FAIR DEBT
                   COLLECTION PRACTICES ACT.

52.)    Defendant violated the Maryland Fair Debt Collection Practices Act (Md Code Ann.,
Business Regulation      9 7-101,   et seq. and Md Comm. Law Code Ann. 914-201 et seq.) based on
the following:
        (a.)       Defendant, acting through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md Comm. Law Code Ann. 914-202 (6) of the Maryland Fair Debt Collection Practices
Act when Defendant placed collection calls to Plaintiff repeatedly and continuously so as to
annoy Plaintiff.
        (b.)       Defendant, acting through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md Comm. Law Code Ann. 914-202 (6) of the Maryland Fair Debt Collection Practices
Act when Defendant placed collection calls to the Plaintiff with such frequency as to be both
unreasonable and to constitute a harassment to Plaintiff under the circumstances.
        (c.)       Defendant, acting through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. 914-202 (8) of the Maryland Fair Debt Collection Practices
Act by falsely representing that a legal proceeding is about to be instituted unless payment of a
consumer debt is made by Plaintiff.
        (d)        Defendant, acting through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. 914-202 (7) by use of obscene or grossly abusive language
in communicating with the Plaintiff.
        (e)        Defendant, acting through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violatedMd       Comm. Law Code Ann. 914-202 andMd. Code Ann., Fam. Law 914-101 by
engaging in conduct the natural consequence of which was to result to harass, oppress, or abuse




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and to proximately cause the Plaintiff to suffer emotional distress and mental anguish in
connection with the collection of a debt.
         (f.)   Defendant, acting through its agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. ~14-201 et seq. and Md. Code Ann., Business Reg. ~7-1 01,
et seq. of the Maryland Fair Debt Collection Practices Act by continuously failing to comply
with the statutory regulations contained within the FDCPA, 15 Us. C. ~1692et seq.
                (i.)     Defendant, acting through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692(d) of the FDCPA by engaging in conduct the natural consequence of
which is to harass, oppress, or abuse the Plaintiff in connection with the collection of a debt.
                (ii.)    Defendant, acting through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692(d) (5) of the FDCPA by causing a telephone to ring repeatedly and
continuously with the intent to annoy, abuse, and harass Plaintiff.
                (iii.)   Defendant, acting through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692(e) (2) (A) of the FDCPA by falsely representing the character, amount,
and legal status of Plaintiff s debt because Plaintiff of Plaintiff s debt because Plaintiff does not
owe the money Defendant is attempting to collect.
                (iv.)    Defendant, acting through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692(e) (5) of the FDCPA by threatening to file a lawsuit against Plaintiff
even though Defendant does not intend to do so.
                (v.)     Defendant, acting through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692(e) (10) of the FDCPA by using deceptive means in an attempt to collect
a debt by threatening to file a lawsuit against Plaintiff even though Defendant does not intend to
do so.
                (vi.)    Defendant, acting through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and


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    insurers, violated 91692 (e) (10) of the FDCPA by using deceptive means in an attempt to collect
    a debt by threatening to reposes Plaintiff's vehicle even though Defendant does not intend to do
    so.
                      (vii.)    Defendant, acting through its agents, employees, officers, members,
    directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
    insurers, violated 91692 (f) (1) of the FDCPA by attempting to collect an amount that is not
    authorized by the agreement or permitted by law because Plaintiff does not owe the money
    Defendant is attempting to collect.
                      (viii.)   Defendant, acting through its agents, employees, officers, members,
    directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
    insurers, violated 91692 (c) 99805 (c) of the FDCPA by continuing to collect a debt from the
    Plaintiff after receiving a cease and desist communication notice.

                                                    Count II
               A.     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES
                      ACT OF 1977. 15 U.s.c. 61692 et seq.

    53.)       Defendant, acting through its agents, employees, officers, members, directors, heirs,
    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
    violated 91692 (d) of the FDCP A by engaging in conduct the natural consequence of which is to
    harass, oppress, or abuse the Plaintiff in connection with the collection of a debt.
    54.)       Defendant, acting through its agents, employees, officers, members, directors, heirs,
    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
    violated 91692 (d) (5) of the FDCPA by causing a telephone to ring repeatedly and continuously
    with the intent to annoy, abuse, and harass Plaintiff.
    55.)       Defendant, acting through its agents, employees, officers, members, directors, heirs,
    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
    violated 91692 (e) (2) (A) of the FDCPA by falsely representing the character, amount, and legal
    status of Plaintiff's debt because Plaintiff does not owe the money Defendant is attempting to
    collect.
    56.)       Defendant, acting through its agents, employees, officers, members, directors, heirs,
    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,



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     violated ~1692 (e) (5) of the FDCPA by threatening to file a lawsuit against Plaintiff even though
     Defendant does not intend to do so;
     57.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
     successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated ~1692 (e) (10) of the FDCPA by using deceptive means in an attempt to collect a debt
     by threatening to file a lawsuit against Plaintiff even though Defendant does not intend to do so.
     58.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
     successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated ~1692 (e) (10) of the FDCPA by using deceptive means in an attempt to collect a debt
     by threatening to reposes Plaintiff s vehicle even though Defendant does not intend to do so.
     59.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
     successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated ~1692 (f) (1) ofthe FDCPA by attempting to collect an amount that is not authorized by
     the agreement or permitted by law because Plaintiff does not owe the money Defendant is
     attempting to collect.

                                                  Count III
             A.      DEFENDANT VIOLATED THE PLAINTIFF'S COMMON LAW RIGHT
                     TO PRIVACY.
     60.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
     successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated Plaintiffs right to privacy by engaging in conduct the natural consequence of which is to
     harass, oppress, or abuse the Plaintiff in connection with the collection of a debt.
     61.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
     successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated Plaintiff's right to privacy by causing a telephone to ring repeatedly and continuously
     with the intent to annoy, abuse, and harass Plaintiff.
     62.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
     successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers
     engaged in conduct, after receiving Plaintiff's cease and desist letter, while communicating with
     Plaintiff by utilizing obscene, profane or grossly abusive language were intentional and with
     malice, or in complete and reckless disregard of Plaintiff s common law right to privacy.

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                                                   ConntlV
             A.      DEFENDANT'S INTENTIONAL ACTIONS CAUSED THE PLAINTIFF
                     TO SUFFER EMOTIONAL DISTRESS AND MENTAL ANGUISH.
     63.)    Defendant, acting through its agents, employees, officers, members, directors, heirs,
     successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violatedMd. Comm. Law Code Ann. 914-202, Md. Comm. Law Code Ann. 914-203 andMd.
     Code Ann., Fam. Law 914-101.
             (a)     Defendant, acting through its agents, employees, officers, members, directors,
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated Md. Comm. Law Code Ann. 914-202, Md. Comm. Law Code Ann. 914-203 and Md
     Code Ann., Fam. Law     9 14-101   by engaging in conduct the natural consequence of which was to
     result to harass, oppress, or abuse and to proximately cause Plaintiff to suffer emotional distress
     and mental anguish in connection with the collection of a debt.
             (b)     Defendant, acting through its agents, employees, officers, members, directors,
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated Md Comm. Law Code Ann. 914-201 et seq., Md. Comm. Law Code Ann. 914-203 and
     Md Code Ann., Fam. Law 914-101 by engaging in conduct that was intentional or reckless
     extreme and outrageous and the natural consequence of which was to result to proximately cause
     Plaintiff to suffer emotional distress and mental anguish in connection with the collection of a
     debt.
             (c)     Defendant, acting through its agents, employees, officers, members, directors,
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated Md. Comm. Law Code Ann. 914-201 et seq., Md Comm. Law Code Ann. 914-203 and
     Md Code Ann., Fam. Law       9 14-101   by engaging in conduct continuing to contact Plaintiff after
     receiving his cease and desist letter were intentional and reckless acts and the natural
     consequence of which was to result to proximately cause Plaintiff to suffer emotional distress
     and mental anguish in connection with the collection of a debt.
             (d)     Defendant, acting through its agents, employees, officers, members, directors,
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violatedMd    Comm. Law Code Ann. 914-201 et seq., Md Comm. Law Code Ann. 914-203 and
     Md Code Ann., Fam. Law 9 14-101 by engaging in conduct by making annoying and harassing

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      telephone calls to Plaintiff after receiving his cease and desist letter were extreme, outrageous,
      intentional and reckless acts and the natural consequence of which was to result to proximately
      cause Plaintiff to suffer emotional distress and mental anguish in connection with the collection
      ofa debt.
                (e)    Defendant, acting through its agents, employees, officers, members, directors,
      heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
      violated Md. Comm. Law Code Ann. 914-201 et seq., Md Comm. Law Code Ann. 914-203 and
      Md Code Ann., Fam. Law 914-101 by engaging in conduct while communicating with the
      Plaintiff by utilizing obscene, profane or grossly abusive language were extreme, outrageous,
      intentional and reckless acts and the natural consequence of which was to result to proximately
      cause Plaintiff to suffer emotional distress and mental anguish in connection with the collection
      ofa debt.
                (f)    Defendant, acting through its agents, employees, officers, members, directors,
      heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
      violated Md Comm. Law Code Ann. 914-201 et seq., Md Comm. Law Code Ann. 914-203 and
      Md Code Ann., Fam. Law 914-101 as exhibited and demonstrated by their actual malice,
      motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
      and threaten to file a lawsuit against Plaintiff after receiving Plaintiffs June 4th, 2010 cease and
      desist letter.
                (g)    Defendant, acting through its agents, employees, officers, members, directors,
      heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
      violated Md Comm. Law Code Ann. 914-201 et seq., Md Comm. Law Code Ann. 914-203 and
      Md Code Ann., Fam. Law       9 14-101   as exhibited and demonstrated by their actual malice,
      motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
      and threaten to garnish Plaintiff's pay after receiving Plaintiff's June 4th, 2010 cease and desist
      letter.
                (h)    Defendant, acting through its agents, employees, officers, members, directors,
      heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
      violated Md Comm. Law Code Ann. 914-201 et seq., Md Comm. Law Code Ann. 914-203 and
      Md Code Ann., Fam. Law       9 14-101   as exhibited and demonstrated by their actual malice,
      motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff


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     and threaten to repossess his personal vehicle after receiving Plaintiffs June 4th, 2010 cease and
     desist letter.
              (i)      Defendant, acting through its agents, employees, officers, members, directors,
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated Md. Comm. Law Code Ann. 914-201 et seq., Md. Comm. Law Code Ann. 914-203 and
     Md. Code Ann., Fam. Law       9 14-101    as exhibited and demonstrated by their actual malice,
     motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
     and willfully and intentionally invade the Plaintiff s right to privacy after receiving Plaintiffs
     June 4th, 2010 cease and desist letter.
             G)        Defendant, acting through its agents, employees, officers, members, directors,
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
     violated Md. Comm. Law Code Ann. 914-201 et seq., Md. Comm. Law Code Ann. 914-203 and
     Md. Code Ann., Fam. Law       9 14-101    as exhibited and demonstrated by their actual malice,
     motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
     and use of threats, obscene, profane or grossly abusive language after receiving Plaintiffs June
     4th, 2010 cease and desist letter.

             WHEREFORE,          the Plaintiff, MICHAEL      KENNEDY, respectfully requests judgment
     be entered against Defendant, ACE CASH EXPRESS, for the following:

     64.)    Declaratory judgment that the Defendant's conduct, while acting through its agents,
     employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,
     subrogees, representatives, and insurers, violated the Fair Debt Collection Practices Act of
     Maryland, Md. Code Ann., Business Regulation 97-101, et seq. and Md. Comm. Law Code Ann.
     914-201 et seq.
     65.)    Declaratory judgment that the Defendant's conduct, while acting through its agents,
     employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,
     subrogees, representatives, and insurers, violated the Fair Debt Collection Practices Act, Title 15
     us.c. 91692      et seq.
     66. )   Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, Title
     15   us.c. 91692    et seq., and the Maryland Fair Debt Collection Practices Act, Md. Code Ann.,
     Business Regulation 97-101, et seq. and Md. Comm. Law Code Ann. 914-201 et seq.


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67.)      Actual damages of:
         (a)     $175,000.00 for damages resulting from the infliction of emotional distress and
mental anguish proximately caused to Plaintiff by Defendant's actual malice, motivated by ill
will and the intent to injure, and in violation of Md. Comm. Law Code Ann. ~ 14-203; and
MarylandFair Debt Collection Practices Act, Md. Code Ann., Business Regulation 97-101, et
seq.; and Md. Comm. Law Code Ann. 914-201 et seq.
         (b)     Any and allcostsrelatedto mileage,postage,and copyingfeesincurredby the plaintiff relative
to this action
         (c)     Costs and reasonable attorneys' fees, if any, pursuant to the Fair Debt Collection
Practices Act, Title 15   Us.c. 91692    et seq. andth~ Maryland Fair Debt Collection Practices
Act, Md. Code Ann., Business Regulation 97-101, et seq. and Md. Comm. Law Code Ann. 914-
201 et seq.
57.)     Any other relief that this Honorable Court deems appropriate, just or proper.

                                    DEMAND FOR JURY TRIAL

         PLEASE TAKE NOTICE that Plaintiff, MICHAEL KENNEDY, demands a jury trial
in this case.




RESPECTFULL Y SUBMITTED,




Dated this 12th day of July, 2010.

                                                          Michael E. Kennedy
                                                          33250 Old Ocean City Road
                                                          Parsonsburg, Maryland 21849
                                                          (410) 572-8802




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               VERIFICATION OF COMPLAINT AND CERTIFICATION


     STATE OF MARYLAND                       )
                                             )       ss:
     COUNTY OF WICOMICO                      )

     Plaintiff, MICHAEL KENNEDY, states as follows:
     1.)     I am the Plaintiff in this civil proceeding.
     2.)     I have read the above-entitled civil Complaint prepared by myself and I believe that all
     of the facts contained in it are true, to the best of my knowledge, information and belief formed
     after reasonable inquiry.
     3.)     I believe that this civil Complaint is well grounded in fact and warranted by existing law
     or by a good faith argument for the extension, modification or reversal of existing law.
     4.)     I believe that this civil Complaint is not interposed for any improper purpose, such as
     to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless
     increase in the cost of litigation to any Defendant( s), named in the Complaint.
     5.)     I have filed this Complaint in good faith and solely for the purposes set forth in it.

             Pursuant to 28 Us. C. j 1746(2), I, MICHAEL E. KENNEDY , hereby declare (or
     certify, verify or state) under penalty of perjury that the foregoing is true and correct.




                                                            Michael E. Kenn
                                                            Plaintiff, pro se

     Executed on this 12th day of July, 2010.

                                                            Michael E. Kennedy
                                                            33250 Old Ocean City Road
                                                            Parsonsburg, Maryland 21849
                                                            (410) 572-8802




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